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In re Terrorist Attacks on September 11, 2001                  03 MDL 1570 (GBD/FM)
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This document relates to: Ashton et al. v. AI Qaeda Islamic Army et al., 02 CV 6977 (GBD/FM)

                           CLERK'S CERTIFICATE OF DEFAULT

       I, RUBY J. KRAJICK, Clerk of the United States District Court for the Southern District of

New York ("SONY"), do hereby certify that this action was commenced on September 4, 2002 with

the filing of the Complaint, and the Consolidated Master Complaint was filed on March 6, 2003. The

Consolidated Master Complaint and Summons were served on Defendant, the Republic of Sudan

("Sudan"), as follows:

       Service was effectuated on Defendant Sudan through diplomatic channels by the Untied

States Department of State on April 29, 2003. Proof of such service was transmitted to me, SDNY

Clerk J. Michael McMahon, by the U.S. Department of State on May 15,2003. Proof of such service

was filed by the Plaintiffs on September 16, 2005.

       I further certify that the docket entries indicate that Defendant, the Republic of Sudan, has

not filed an answer or otherwise moved with respect to the Consolidated Master Complaint. The

default of the Defendant, the Republic of Sudan, is hereby noted.

Dated: December 7"Z-;-20 II
       New York, New York
                                               RUBY J. KRAJICK
                                               Clerk of the Court

                                               By:. ____   f1~~----------
                                                       Dep~ty Clerk
